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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


                        ELECTRONIC FILING ORDER IN CIVIL CASES

      The parties shall file all documents in this case electronically. Counsel must
comply with the following requirements:

1. Counsel must comply with all applicable Federal Rules of Civil Procedure, the
   District's Local Rules, the requirements set forth in the District's CM/ECF Policies and
   Procedures Manual, and any other rules and administrative procedures which
   implement the District's CM/ECF system.

2. Do c u m e n t s f i l e d e le ct r o n ic a l l y m u s t b e f i le d i n O CR t e xt se a r ch a b le
   P D F f o rm a t .

3 . Unless otherwise ordered, on the business day next following the day on which a
    document is filed electronically, counsel must provide chambers with one paper copy
    of the following e-filed documents:

        All documents (including briefs and exhibits) relating to the following:

    a. Applications for temporary restraining orders, preliminary injunctions or
       prejudgment remedies;
    b. Dispositive motions (motions to dismiss, for judgment on the pleadings, or for
       summary judgment);
    c. Proposed voir dire and requested jury instructions;
    d. Joint Trial Memorandum;
    e. Trial briefs, including proposed findings of fact and conclusions of law; and
    f. Any other motion, request or application which, taken together with all related
       filings (e.g., memorandum in support and affidavits), are in excess of 15 pages.


                                                           IT IS SO ORDERED,



                                                           /s/ Michael P. Shea
                                                           Michael P. Shea
                                                           United States District Judge




Rev 3/1/13
